
28 So.3d 1014 (2010)
Luria STUBBLEFIELD, Cynthia Dartest, Arnette Rochelle, Billy Reaux, Marlene Reaux and Darlene Cox, Individually and on Behalf of Emma Shaw, Deceased
v.
Jerry W. LINDIG, as Executor of the Succession of Lawrence Lindig, Individually and d/b/a SCC of Houma, LLC, Blake E. McGehee, as Executor of the Succession of Eddie McGehee, Individually and d/b/a SCC of Houma, LLC, Clarence G. Brodhead, Individually and d/b/a SCC of Houma, LLC, SCC of Houma, LLC, d/b/a Southdown Care Center and Does One Through Twenty, Inclusive.
No. 2009-C-2273.
Supreme Court of Louisiana.
March 5, 2010.
Not considered. See Supreme Court Rule IX, Section 6.
